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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11

12    PCR DISTRIBUTING CO., a                        Case No. 24-cv-7453
      California corporation,
13
                                                     COMPLAINT FOR:
                  vs.
14                                                     1. COPYRIGHT
      JOHN DOES 1 – 10, d/b/a                             INFRINGEMENT
15
      NHENTAI.NET                                      2. VICARIOUS COPYRIGHT
16                                                        INFRINGEMENT
                        Defendants.                    3. CONTRIBUTORY
17
                                                          COPYRIGHT
18                                                        INFRINGEMENT
19
                                                       4. INDUCEMENT OF
                                                          COPYRIGHT
20                                                        INFRINGEMENT
21

22                                                   DEMAND FOR JURY TRIAL

23

24

25

26


           COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

                                              1
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 1         Plaintiff PCR Distributing Co., a California corporation (“Plaintiff” or “PCR”),
 2   by and through its counsel of record files this Complaint against Defendants John Does
 3   1-10, d/b/a nHentai.net (together, “Defendant” or “Defendants”).
 4

 5                             PRELIMINARY STATEMENT
 6         1.    Plaintiff PCR Distributing, Co. owns, creates, acquires, translates, and

 7   distributes premium hentai art and publications from Asia to the U.S. market, with a

 8
     focus on delivering high-quality collectible products to a niche audience. Operating
     under the DBA Jast USA, PCR also specializes in localizing and publishing Japanese
 9
     visual novels and dating-sim games for the English market.
10
           2.    Plaintiff’s content identified in this case is registered with the U.S.
11
     Copyright Office (the “Works”).
12
           3.    By this lawsuit, Plaintiff seeks to protect its registered, copyrighted works
13
     from blatant infringement by Defendants.
14
           4.    Plaintiff monetizes its operations through online advertising and its online
15
     platforms that serve as a gateway to drive users toward purchasing games, physical
16   books, and merchandise. Additionally, PCR capitalizes on its fanbase by offering high-
17   value, one-of-a-kind art pieces at trade shows, enhancing revenue and customer loyalty.
18         5.    The conduct that gives rise to this lawsuit is egregious and willful.
19   Defendants do business as, own and operate nHentai.net (“nHentai”). Collectively,
20   Defendants use the domain name to distribute infringing copies of image and text
21   works, including Plaintiff’s Works.
22         6.    Defendants are directly and knowingly involved in the trafficking of
23   thousands of pirated works – including five (5) registered works owned by Plaintiff –
24   on 3,604 individual web pages. None of the infringing works posted on the sites are

25   “user-generated content” or “third-party” uploads. That is, nHentai is not a user-

26
     generated content (“UGC”) website. There is no user upload capability. Defendants are


           COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1   not “service providers,” are not engaged in the storage of content at the direction of
 2   users, and thus are not entitled to any of the safe harbors afforded under Section 512 of
 3   the Digital Millennium Copyright Act (“DMCA”) (17 U.S.C. § 512). Defendants do
 4   not even attempt to comply with the takedown obligations under the DMCA that would
 5   afford them safe harbor. Instead, they systematically refuse to comply with proper and
 6   compliant DMCA takedown notices.

 7         7.     Defendants’ actions are causing serious harm to Plaintiff and its business

 8
     and must be stopped immediately. Because Defendants will not desist voluntarily,
     Plaintiff now comes before this Court to seek injunctive relief and damages.
 9

10
                                 JURISDICTION AND VENUE
11
           8.     This is a civil action seeking damages and injunctive relief for copyright
12
     infringement under the Copyright Act, 17 U.S.C. § 101 et seq.
13
           9.     This Court has subject matter jurisdiction over Plaintiff’s claims for
14
     copyright infringement under 28 U.S.C. §§ 1331 and 1338.
15
           10.    Defendants Does 1-10, d/b/a nHentai.net (“Defendants”) are unknown
16   individuals or entities that own and operate at least one website, located at the uniform
17   resource locator (“URL”) nHentai.net.
18         11.    Based on information and belief, Defendants also own and operate the
19   URL nHentai.to.
20         12.    Defendants operate nHentai for purposes of the copyright infringement
21   allegations alleged here.
22         13.    Defendants knowingly and purposefully market to and target the entire
23   United States, including residents of this District, through nHentai.
24         14.    Based on a website analysis overview report prepared by Similarweb.com,

25   an industry-trusted website analytics company, dated August 22, 2024 (the “NHentai

26
     SimilarWeb Report”), for the one month ending July 2024, nHentai averaged around


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 1   79.38 million monthly visitors with the average viewer visiting at least 41 pages and
 2   staying on nHentai for at least ten minutes. Of these users, visitors from the United
 3   States made up the largest market at 24.63%, with visitors from Japan comprising the
 4   next largest market at 22.14%.1
 5            15.     On information and belief, Defendants have contractual relationships with
 6   United States companies to promote those companies’ services on nHentai. For

 7   example, nHentai displays advertisements for Eden AI by Eva AI, whose adult

 8
     entertainment website, located at edenai.world, is owned and operated by Lanoto
     Solutions Inc., a New York-based company.2
 9
              16.     Namecheap, Inc., an ICANN-accredited registrar based in Phoenix,
10
     Arizona, serves as the registrar for nHentai.net. To use Namecheap's services, users
11
     must complete a process that includes agreeing to terms and conditions governed by
12
     the laws of the United States of America. This process requires customers to provide
13
     essential information, such as their name, billing address, email, payment details, and
14
     DNS information. As a result, the Defendants have a direct contractual relationship
15
     with Namecheap, Inc.
16            17.     Defendants use domain name servers (DNS) for nHentai which are located
17   in California and are owned by Cloudflare, Inc., a corporation incorporated under the
18   laws of the State of Delaware.3
19

20
     1
         Attached as Exhibit A is the nHentai SimilarWeb Report.
21
     2
         Source: https://lp2.edenai.world/termsus/ Last Visited August 27, 2024
22
     3
       The Domain Name System (DNS) acts as the internet’s phonebook, translating human-friendly
23
     domain names like nytimes.com into the unique IP addresses that computers use to locate and load
24   web resources, eliminating the need for users to memorize complex numerical addresses. If a URL
     does not have DNS servers, a web browser will not be able to find the website because it cannot
25
     translate the URL into the numerical address needed to load the page. This will result in an error
26   message      saying    the    site    cannot     be   found.    What     is     DNS,      Source:


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 1           18.   On information and belief, Defendants have a direct contractual
 2   relationship with California-based Cloudflare for additional services, including its
 3   Cloudflare Insights Analytics product.4
 4           19.   Defendants’ use of United States vendors for domain name servers,
 5   United States content delivery networks, and other key services illustrate that
 6   Defendants are expressly aiming their website and business at the United States market.

 7           20.   On information and belief, Defendants all transact business in this Judicial

 8
     District by way of their interactive website and through their interactivity with the
     United States and California residents who have been offered the infringing and
 9
     unlawful content at issue here and who have, themselves, engaged in acts of
10
     infringement in this District and State. The Court has personal jurisdiction over
11
     Defendants, who have engaged in business activities in and directed to this District and
12
     have committed tortious acts within this District or directed at this District. Defendants
13
     are subject to service of process under the state Long-Arm Statute and Fed. R. Civ. P.
14
     4(e).
15
             21.   Any alien defendant is also subject to jurisdiction in any district. See 28
16   U.S.C. 1391 (“An alien may be sued in any district.”) See also Fed. R. Civ. P. 4(k)(2).
17           22.   Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b)
18   because a substantial part of the events giving rise to the claim occurred in this judicial
19

20

21

22   https://www.cloudflare.com/learning/dns/what-is-
     dns/#:~:text=The%20Domain%20Name%20System%20(DNS,browsers%20can%20load%20Intern
23   et%20resources.
24   4
      Cloudflare Web Analytics provides website usage metrics. It allows the website owner(s) to collect
25   essential  data,    such   as   top-performing    pages       and    traffic   sources.    Source:
     https://www.cloudflare.com/web-analytics/
26


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 1   district and/or because Defendants are subject to the court’s personal jurisdiction with
 2   respect to this action.
 3
                                              PARTIES
 4
           23.    PCR operates a sophisticated business model focused on acquiring,
 5
     translating, and distributing high-quality Japanese art and publications for the
 6   international market. With an additional office in Japan, PCR negotiates contracts
 7   directly with artists and publishers to secure exclusive rights, and then translates and
 8   distributes these works, primarily in English.
 9         24.    The production process at PCR is meticulous, involving multiple stages.
10   It begins with initial file preparation, followed by translation, editing, lettering, and
11   retouching. Quality control is conducted at various checkpoints throughout the process.
12   The final stages include layout design, printing, shipping, warehousing, and fulfillment.
13   These efforts result in high-quality, collectible items that cater to a discerning hentai
14   fan market. Due to the intensive process, PCR’s products are considered premium and

15   are sold at a higher price point.

16
           25.    PCR’s model has proven successful, as reflected in PCR's sales data.
     Furthermore, top customers can spend substantial sums, over $10,000 in total
17
     purchases. At trade shows, PCR engages directly with collectors, offering unique, one-
18
     of-a-kind hand-drawn art pieces priced between $1,000 and $3,000, further enhancing
19
     their revenue streams.
20
           26.    To reach its target audience, PCR strategically places ads on websites that
21
     promote its products. This multi-faceted approach drives traffic to their platform and
22
     strengthens their sales funnel, contributing to PCR’s continued success.
23
           27.    A schedule of the copyright registrations for Plaintiff’s works at issue is
24   attached as Exhibit B (the “Subject Works”).
25

26


            COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1         28.    Plaintiff has never authorized or given consent to Defendants to use its
 2   copyrighted works on Defendants’ websites.
 3         29.    Defendants own and operate the URL located at nHentai.net.
 4         30.    NHentai.net is a domain registered in the United States.
 5         31.    The nHentai.net website is available in the United States.
 6         32.    Defendants operate nHentai with the intention of broadcasting,

 7   distributing, or making available content in the United States and earning money from

 8
     the United States market.
           33.    Defendants are the owners, operators, shareholders, executives, and/or
 9
     affiliates of nHentai. Plaintiff is unaware of the true names or capacities of the
10
     Defendants. Plaintiff is informed and believes, and on that basis alleges, that the
11
     Defendants either (a) directly performed the acts alleged here, (b) were acting as the
12
     agents, principals, alter egos, employees, or representatives of the owners and
13
     operators of nHentai, and/or (c) otherwise participated in the acts alleged here with
14
     the owners and operators of nHentai. Accordingly, the Defendants are liable for all
15
     acts alleged herein because they were both the cause in fact, and the proximate cause
16   of all injuries suffered by Plaintiff as described. Plaintiff will amend the complaint to
17   state the true names of the Defendants when their identities are discovered.
18

19                                STATEMENT OF FACTS
20         34.    NHentai.net is a website that displays pirated copyright-registered adult
21   entertainment content without authorization or license.
22

23

24

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            COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1             35.    NHentai.net is a widely visited platform for adult manga5 and doujinshi
 2   content6, attracting over 79,000,000 visits per month. The website hosts a vast
 3   collection of hentai7 works, including commercially produced content, much of which,
 4   based on information and belief, is shared without proper authorization from the
 5   owners.
 6             36.    Based on information and belief, all content and Works displayed on

 7   nHentai as galleries originate from digital or physical books and are uploaded to the

 8
     site by the domain's owners and/or operators. That is, third parties cannot upload any
     content to nHentai.
 9

10

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20   5
         “Manga is an umbrella term for a wide variety of comic books and graphic novels originally
     produced and published in Japan.“ Source: https://www.nypl.org/blog/2018/12/27/beginners-guide-
21
     manga Last Visited August 27, 2024
22
     6
         “A doujinshi is a fan-created or self-published work, sometimes in the form of erotic manga.”
23   Source: https://www.dictionary.com/e/pop-culture/doujinshi/ Last Visited August 27, 2024.
24   7
       “…a subgenre of Japanese manga, anime, computer games, etc., characterized by explicit sexual
25   themes and imagery.” Source: https://www.dictionary.com/browse/hentai Last Visited August 27,
     2024.
26


               COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1             37.    The top of nHentai's information page emphasizes operator control,
 2   stating, “No, we are not going to add a forum, ever,” and that users will not have the
 3   ability to upload or edit galleries.8
 4

 5

 6

 7

 8

 9

10
               38.    Defendants are actively pirating content.
11
               39.    Defendants monetize their copyright infringement on nHentai through the
12
     advertising banners visible on the site. On information and belief, advertising is the
13
     only way nHentai makes money.
14
               40.    Besides displaying static banner advertisements, the nHentai website
15
     shows visitors pop-up advertisements when they view Works on the site.
16
               41.    Advertisements on nHentai.net include those for competing adult products
17
     and services that target the hentai-specific user demographic.
18             42.    NHentai.net doesn't incur the costs typically associated with content
19   production. Based on information and belief, the owners and operators’ source and
20   curate hentai content that will drive traffic to the website, which, in turn, increases ad
21   impressions and revenue.
22             43.    NHentai allows users to download Works from the site. This functionality
23   makes it impossible to know where and how many times the copyrighted videos have
24

25
     8
         Source: https://nhentai.net/info/ Last Visited August 27, 2024.
26


               COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1   been saved, viewed, re-posted, and displayed illegally as a direct result of Defendant’s
 2   unlawful display.
 3         44.    NHentai does not meet the requirements for the safe harbor provisions of
 4   the DMCA. Specifically, Defendants do not honor take-down notices.
 5         45.    On information and belief, Defendants load infringing materials onto
 6   nHentai and are the sole infringers of Works on those websites.

 7         46.    Plaintiff’s agents routinely police websites to identify infringement of

 8
     Plaintiff’s copyrighted works. Those investigations revealed that Plaintiff’s
     copyrighted works are available on nHentai.            Defendants have no license or
 9
     authorization from Plaintiff to copy or display Plaintiff’s works on nHentai.
10
           47.    As of August 29, 2024, Plaintiff has identified that the nHentai website
11
     displayed 5 of Plaintiff’s copyrighted registered works on 3,604 URLs. Exhibit B to
12
     this complaint identifies the copyright registrations and the URLs where Defendants
13
     displayed them. Defendants have no authority or license to display or distribute any
14
     portion of Plaintiff’s copyrighted works on nHentai.
15
           48.    Plaintiffs have demanded that nHentai remove Plaintiff’s content from
16   nHentai by sending a series of takedown notices in accordance with the takedown
17   provisions of the Digital Millennium Copyright Act, 17 U.S.C. § 512(c). Specifically,
18   DMCA-compliant takedown notices seeking to remove its Works from NHentai were
19   sent to the abuse email displayed on the nHentai ‘info’ page, the domain registrar, and
20   service provider Cloudflare. Additional notices were sent to Google.com to report the
21   infringing links.
22         49.    In October 2023, the nHentai Defendants, through their attorneys John T.
23   Wilson and Jennifer M. Rynell, attempted to have PCR enter into a 'HIGHLY
24   CONFIDENTIAL SETTLEMENT AND RELEASE AGREEMENT' to settle claims,

25   including copyright infringement, between the Plaintiffs and Defendants in this case.

26


            COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1   PCR declined the agreement and further requested the removal of its works from
 2   nHentai.
 3         50.    Based on information and belief, Counsel for Defendants, John T. Wilson
 4   and Jennifer M. Rynell had constructive if not actual knowledge of nHentai’s copyright
 5   infringement of PCR Works at issue in this case since at least October 2023.
 6         51.    As of the filing of this complaint, Plaintiff or its agents sent DMCA-

 7   compliant takedown notices identifying infringing works on Defendants' website to the

 8
     email address provided for reporting abuse. Additional DMCA-complaint takedown
     notices were sent to nHentai’s known service providers. However, 100% of the
 9
     reported URLs remain active.
10
           52.    None of the DMCA takedown notices sent by Plaintiff to the Defendants
11
     or their service providers were returned as undeliverable.
12
           53.    Defendants did not remove any content identified in the takedown notices
13
     or respond to any of Plaintiff’s DMCA takedown notices. On information and belief,
14
     Defendants have actual knowledge and clear notice of the infringement of Plaintiff’s
15
     works.
16         54.    Through the conduct alleged here, Defendants knowingly promote,
17   participate in, facilitate, assist, enable, materially contribute to, encourage, and induce
18   copyright infringement, and thereby have infringed, secondarily infringed, and induced
19   infringement by others, the copyrights in Plaintiff’s copyrighted work.
20         55.    Defendants, either jointly, severally, actually, constructively, and with or
21   without direct concert with one another, deprived Plaintiff of the lawful monetary
22   rewards that accompany its rights in the copyrighted works. Defendants’ disregard for
23   copyright laws threatens Plaintiff’s business.
24         56.    Defendants intentionally, knowingly, negligently, or through willful

25   blindness avoided reasonable precautions to deter rampant copyright infringement on

26
     nHentai.


              COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1         57.    Defendants’ acts and omissions allow them to profit from their
 2   infringement while imposing the burden of monitoring Defendants’ website onto
 3   copyright holders, without sufficient means to prevent continued and unabated
 4   infringement.
 5
                                 FIRST CAUSE OF ACTION
 6                    Copyright Infringement – 17 U.S.C. §§ 101 et seq.
 7                                  Against All Defendants
 8         58.    Plaintiff realleges and reincorporates the allegations in paragraphs 1 – 57
 9   above as though fully set forth herein.
10         59.    Plaintiff owns copyrights in the Subject Works.
11         60.    Plaintiff has valid registrations with the United States Copyright Office
12   for each of the Subject Works.
13         61.    Defendants have infringed, and are continuing to infringe Plaintiff’s
14   copyrights by uploading, reproducing, adapting, distributing, publicly performing,

15   and/or publicly displaying and authorizing others to reproduce, adapt, distribute,

16
     publicly perform, and/or publicly display copyrighted portions and elements of the
     Subject Works, and/or the Subject Works in their entireties, without authorization, in
17
     violation of the Copyright Act, 17 U.S.C. § 101 et seq.
18
           62.    Defendants did not have authority or license to copy or display the Subject
19
     Works.
20
           63.    Plaintiff has never authorized or given consent to Defendants to use the
21
     Subject Works in the manner displayed and exploited by Defendants.
22
           64.    Defendants knew or reasonably should have known they did not have
23
     permission to exploit the Subject Works on nHentai and further knew or should have
24   known their acts constituted copyright infringement.
25

26


            COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1         65.    Defendants’ acts of infringement are willful, in disregard of, and with
 2   indifference to the manner displayed and exploited by Plaintiff.
 3         66.    The quality of content such as Subject Works available to users on nHentai
 4   increased the attractiveness of nHentai to its customers, increased its user base, and
 5   increased its advertising sales revenue.
 6         67.    On information and belief, Defendants actively uploaded pirated

 7   copyrighted files, enabling users of nHentai to view copyrighted Subject Works for

 8
     free. On information and belief, the content at nHentai is not user-generated content
     but is uploaded by Defendants.
 9
           68.    Defendants controlled the files owned by Plaintiff and determined
10
     which files remained for display and distribution.
11
           69.    On information and belief, Defendants were aware of or were willfully
12
     blind to the fact that pirated copyrighted materials comprised popular works on
13
     nHentai.
14
           70.    Defendants,     through       nHentai,   affirmatively   and    willfully
15
     accommodated Internet traffic generated by the illegal acts.
16         71.    As a direct and proximate result of Defendants’ infringement, Plaintiff
17   is entitled to his actual damages along with Defendants’ profits that are attributable
18   to their infringement; alternatively, it is entitled to statutory damages for
19   infringement in the maximum statutory amount allowed.
20         72.    Because of Defendants’ acts and conduct, Plaintiff has sustained and
21   will continue to sustain substantial, immediate, and irreparable injury, for which
22   there is no adequate remedy at law. Unless enjoined and restrained by the Court,
23   Defendants will continue to infringe Plaintiff’s rights in the Subject Works. Plaintiff
24   is entitled to temporary, preliminary, and permanent injunctive relief to restrain

25   and enjoin Defendants’ continuing infringing conduct.

26


            COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

                                                13
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 1                                 SECOND CAUSE OF ACTION
 2                           Contributory Copyright Infringement
 3                                   Against All Defendants
 4         73.     Plaintiff realleges and reincorporates the allegations in paragraphs 1 – 72
 5   above as though fully set forth herein.
 6         74.     Unknown individuals, without authorization, reproduced and distributed

 7   Plaintiff’s works through Defendants’ websites, directly infringing Plaintiff’s Subject

 8
     Works.
           75.     On information and belief, Defendants either materially contributed or
 9
     induced that infringement.
10
           76.     Defendants were aware, should have been aware, or were willfully blind
11
     to the infringing activity.
12
           77.     Defendants aided, abetted, allowed, and encouraged those individuals to
13
     reproduce and distribute Plaintiff’s copyrighted works through nHentai without regard
14
     to copyright ownership.
15
           78.     Defendants had the ability and obligation to control and stop the
16   infringements and failed to do so.
17         79.     Defendants have engaged in the business of knowingly inducing, causing,
18   and/or materially contributing to unauthorized reproduction, adaptation, public display,
19   and/or distribution of copies of Plaintiff’s copyrighted works, and thus to the direct
20   infringement of Plaintiff’s copyrighted works.
21         80.     On information and belief, Defendants, as the owners and/or operators of
22   nHentai, received direct financial benefits from the infringements of the Subject Works
23   on nHentai.
24         81.     Defendants’ actions constitute contributory infringement of Plaintiff’s

25   copyrights and exclusive rights under copyright in Plaintiff’s Subject Works in

26
     violation of the Copyright Act.


            COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1         82.    Defendants’ acts of infringement were willful, intentional, and purposeful
 2   and in reckless disregard of and with indifference to Plaintiff’s rights.
 3         83.    As a direct and proximate result of Defendants’ infringement, Plaintiff
 4   is entitled to his actual damages along with Defendants’ profits that are attributable
 5   to their infringement; alternatively, it is entitled to statutory damages for
 6   infringement in the maximum statutory amount allowed.

 7         84.     Because of Defendants’ acts and conduct, Plaintiff has sustained and

 8
     will continue to sustain substantial, immediate, and irreparable injury, for which
     there is no adequate remedy at law. Unless enjoined and restrained by the Court,
 9
     Defendants will continue to infringe Plaintiff’s rights in the Subject Works. Plaintiff
10
     is entitled to temporary, preliminary, and permanent injunctive relief to restrain
11
     and enjoin Defendants’ continuing infringing conduct.
12

13                               THIRD CAUSE OF ACTION
14                             Vicarious Copyright Infringement

15                                   Against All Defendants

16
            85. Plaintiff realleges and reincorporates the allegations in paragraphs 1 –
      84, above as though fully set forth herein.
17
            86. Unknown individuals, without authorization, reproduced and distributed
18   Plaintiff’s works through Defendants’ websites, directly infringing Plaintiff’s Subject
19   Works.
20         87.    Defendants had a right and ability to supervise or control that infringing
21   conduct and failed to do so.
22         88.    Defendants had a direct financial interest in that infringing activity.
23         89.    The acts, omissions, and conduct of all Defendants constitute vicarious
24   copyright infringement.
25         90.    The acts of infringement by Defendants have been willful, intentional, and
26   purposeful and in reckless disregard of and with indifference to Plaintiff’s rights.


            COMPLAINT FOR COPYRIGHT INFRINGEMENT AND RELATED CLAIMS

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 1         91.    As a direct and proximate result of Defendants’ infringement, Plaintiff
 2   is entitled to his actual damages along with Defendants’ profits that are attributable
 3   to their infringement; alternatively, it is entitled to statutory damages for
 4   infringement in the maximum statutory amount allowed.
 5         92.    Because of Defendants’ acts and conduct, Plaintiff has sustained and
 6   will continue to sustain substantial, immediate, and irreparable injury, for which

 7   there is no adequate remedy at law. Unless enjoined and restrained by the Court,

 8
     Defendants will continue to infringe Plaintiff’s rights in the Subject Works. Plaintiff
     is entitled to temporary, preliminary, and permanent injunctive relief to restrain
 9
     and enjoin Defendants’ continuing infringing conduct.
10

11
                                FOURTH CAUSE OF ACTION
12
                             Inducement of Copyright Infringement
13
                                    Against All Defendants
14
           93.    Plaintiff realleges and reincorporates the allegations in paragraphs 1 – 92,
15
     above as though fully set forth herein.
16         94.    Defendants have induced copyright infringement. Defendants designed
17   and/or distributed technology, devices, or products used in infringement at nHentai.
18         95.    Acts of copyright infringement occurred at nHentai, as described, supra,
19   in Paragraphs 6 - 72.
20         96.    Through their website, Defendants distribute and make available the
21   Subject Works with the object and goal of encouraging or assisting the copyright
22   infringement alleged here.
23         97.    Defendants have an object of promoting the use of nHentai to infringe
24   copyright.

25         98.    On information and belief, Defendants cause or materially contribute to

26
     the infringement on nHentai because they are aware of the infringement, can take


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 1   simple measures to prevent further infringement, and have failed to implement those
 2   measures
 3         99.    Through both their inducement of infringement and material contribution
 4   to copyright infringement, Defendants have caused copyright infringement. As a direct
 5   and proximate result of Defendants’ inducement and material contribution to
 6   infringement, individuals infringed Plaintiff’s copyrighted works. These individuals

 7   reproduced, distributed, and publicly disseminated Plaintiff’s copyrighted works

 8
     through Defendants’ websites.
           100. On information and belief, Defendants have participated in the illegal
 9
     uploading and encouraged the illegal downloading and/or viewing of Plaintiff’s
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     copyrighted works, thus inducing the unauthorized reproduction, adaptation, public
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     display, and/or distribution of copies of Plaintiff’s copyrighted works, and thus to the
12
     direct infringement of Plaintiff’s copyrighted works.
13
           101. Defendants’ actions constitute inducing copyright infringement of
14
     Plaintiff’s copyrights and exclusive rights under copyright in Plaintiff’s copyrighted
15
     works in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.
16         102. The infringement of Plaintiff’s rights in and to each of Plaintiff's
17   copyrighted works constitutes a separate and distinct infringement.
18         103. The acts of infringement by Defendants have been willful, intentional,
19   purposeful, and in reckless disregard of and with indifference to Plaintiff’s rights.
20         104. As a direct and proximate result of Defendants’ infringement, Plaintiff
21   is entitled to its actual damages along with Defendants’ profits that are attributable
22   to their infringement; alternatively, it is entitled to statutory damages for
23   infringement in the maximum statutory amount allowed.
24         105. Because of Defendants’ acts and conduct, Plaintiff has sustained and will

25   continue to sustain substantial, immediate, and irreparable injury, for which there is no

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     adequate remedy at law. Unless enjoined and restrained by the Court, Defendants will


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 1   continue to infringe Plaintiff’s rights in the Subject Works. Plaintiff is entitled to
 2   temporary, preliminary, and permanent injunctive relief to restrain and enjoin
 3   Defendants’ continuing infringing conduct.
 4

 5                                  PRAYER FOR RELIEF
 6         WHEREFORE, Plaintiff PCR Distributing, Co. prays that this Court enter
 7   judgment in its favor on every claim for relief set forth above and award PCR
 8   Distributing, Co. relief including, but not limited to, an Order:
 9                A.     Preliminarily and permanently enjoining Defendants, their agents,
10   servants, officers, directors, employees, attorneys, representatives, successors and
11   assigns and parent and subsidiary corporations or other related entities, and any or all
12   persons acting in concert or participation with any of them, or under their direction or
13   control, from any of the following activities:
14                       (1)   Hosting, linking to, distributing, reproducing, copying,

15                downloading, uploading, making available for download, indexing,

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                  displaying, exhibiting, publicly performing, communicating to the public,
                  streaming, transmitting, or otherwise exploiting or making any use of any
17
                  of Plaintiff’s copyrighted works, including the Subject Works, or any
18
                  portion(s) thereof in any form;
19
                         (2)   Enabling, facilitating, permitting, assisting, soliciting,
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                  encouraging or inducing, whether directly or indirectly, any user or other
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                  third party (i) to host, link to, distribute, reproduce, copy, download,
22
                  upload, make available for download, index, display, exhibit, publicly
23
                  perform, communicate to the public, stream, transmit, or otherwise exploit
24                or make any use of Plaintiff’s copyrighted works, including the Subject
25                Works, or portion(s) thereof; or (ii) to make available any of Plaintiff’s
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 1               copyrighted works, including the Subject Works, for hosting, linking to,
 2               distributing, reproducing, copying, downloading, uploading, making
 3               available for download, indexing, displaying, exhibiting, publicly
 4               performing, communicating to the public, streaming, transmitting, or
 5               other exploitation or use;
 6                     (3)    Using, operating, maintaining, distributing, or supporting

 7               any computer server, website, software, domain name, email address,

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                 social media account, bank account, or payment processing system in
                 connection with the hosting, linking to, distributing, reproducing,
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                 copying, downloading, uploading, making available for download,
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                 indexing, displaying, exhibiting, publicly performing, communicating to
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                 the public, streaming, transmitting, or other exploitation or use of any of
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                 Plaintiff’s copyrighted works, including the Subject Works;
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                       (4)    Enabling, facilitating, permitting, assisting, soliciting,
14
                 encouraging or inducing, whether directly or indirectly, any user or other
15
                 third party to visit any website, including but not limited to any website
16               operated by Defendants, that hosts, links to, distributes, reproduces,
17               copies, downloads, uploads, makes available for download, indexes,
18               displays, exhibits, publicly performs, communicates to the public,
19               streams, transmits, or otherwise exploits or makes any use of Plaintiff’s
20               copyrighted works, including the Subject Works, or portion(s) thereof;
21                     (5)    Transferring or performing any function that results in the
22               transfer of the registration of the domain name nHentai.net, or any other
23               domain name used in conjunction with Defendants’ infringing activities,
24               to any other registrant or registrar; and

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 1                        (6)    Assisting, aiding, or abetting any other person or business
 2                  entity in engaging in or performing any of the activities referred to in
 3                  this Paragraph.
 4                  B.    Requiring Defendants and their officers, servants, employees,
 5   agents, and any persons who are, or on notice and upon continued provision of services
 6   would be, in active concert or participation with them, including but not limited to the

 7   domain name registrars and registries (including, but not limited to, Namecheap, Inc.)

 8
     administering, holding, listing, or otherwise having control over the domain name
     nHentai.net, or any other domain name used in conjunction with Defendants’ infringing
 9
     activities, to transfer such domain name to Plaintiff’s ownership and control, including,
10
     inter alia, by changing the registrar of record to the registrar of Plaintiff’s choosing,
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     unless Plaintiff requests that such domain name be held and/or released rather than
12
     transferred.
13
                    C.    Requiring Defendants, their agents, servants, officers, directors,
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     employees, attorneys, privies, representatives, successors and assigns and parent and
15
     subsidiary corporations or other related entities, and any or all persons or entity or
16   entities acting in concert or participation with any of them, or under their direction or
17   control, including any internet search engines, web hosting and Internet service
18   providers, domain name registrars, domain name registries and other service or
19   software providers, within five (5) business days from the issuance of this Order:
20                        (1)    To block or attempt to block access by United States users of
21                  nHentai.net website by blocking or attempting to block access to all
22                  domains, subdomains, URLs, and/or IP Addresses that has as its sole or
23                  predominant purpose to enable to facilitate access to nHentai.net;
24                        (2)    To re-route all domains, subdomains, URLs, and/or IP

25                  addresses that provide access to each and every URL available from

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                    nHentai.net, their domains and subdomains.


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 1                D.     That Defendants be ordered to file with the Court and serve upon
 2   Plaintiff, within thirty (30) after the entry of an injunction, a report in writing and under
 3   oath, setting forth in detail the manner and form in which Defendants have complied
 4   with any ordered injunction;
 5                E.     That Plaintiff be awarded statutory damages in an amount to be
 6   determined at trial for all infringing activities, or actual damages including Plaintiff’s

 7   damages and lost profits, Defendants’ profit, at Plaintiff’s election;

 8
                  F.     That Defendants be ordered to account to Plaintiff for all profits,
     gains, and advantages that they have realized through their unauthorized use of
 9
     Plaintiff’s copyrighted works;
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                  G.     That Plaintiff be awarded enhanced damages and attorney’s fees;
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                  H.     That Plaintiff be awarded pre-judgment and post-judgment interest;
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                  I.     That Plaintiff be awarded costs and expenses incurred in
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     prosecuting this action, including expert witness fees; and
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                  J.     That such other and further preliminary and permanent relief be
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     awarded to Plaintiff as the Court deems appropriate.
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17
     Dated: August 30, 2024                   KARISH & BJORGUM, PC
18

19                                            /s/ A. Eric Bjorgum
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20
                                              119 E. Union St., Suite B
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24

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 1

 2                             DEMAND FOR JURY TRIAL
 3
           Plaintiff hereby respectfully demands a jury trial as provided by Rule 38(a) of
 4
     the Federal Rules of Civil Procedure.
 5
                                             .
 6   Dated: August 30, 2024                  KARISH & BJORGUM, PC
 7
                                             /s/ A. Eric Bjorgum
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